Case 5:14-cv-02393-TJH-KK Document 1-1 Filed 11/19/14 Page 1 of 12 Page ID #:4




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      Asset Acceplrnce,          LLC

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      Richard Grace



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Case 5:14-cv-02393-TJH-KK Document 1-1 Filed 11/19/14 Page 3 of 12 Page ID #:6




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       I     RICHARD ORACE
             45950 Daviana V/ay
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       I                            SUPERIOR COURT OF THE STATE OF CALIFORNIA

       9                                        FORTHE COUNTY OF RJVERSIDE
      l0
      l1     RICHARD GRACE                                             CASENo.     sw cl{,ng3>tp
      t2                                     PlaÍntiff,                COMPLAINT FOR VIOLATIONS OF
                                                                       FDCPA, RFDCPÀ, INVASION OF
      t3
                     v.                                                PRIVACY, AND INTENTIONAL
      t4                                                               INFLICTION OF EMOTIONAT DISTRESS
             ASSET ACCEPTANCE, LLC; and DOES I.100
      1<     ñt^r  r rññ rF
      IJ     Il\UrJLrùr V C                                            ILIMITED    Civil   CASEI
      l6
                                                                       [Amount demanded exceeds $10,000]
                                           Defendants,
       l7
      18

       r9            TO ALL INTERESTED PARTIES IN THE ABOVE.ENTITLED ACTION AND THEIR

      20     ATTORNEVS OF RECORD:

      2l             Plaintiff, RICHARD GRACE, on information and belief alleges in his original Complainr as

      22     follows:

      23                                                       TTÍE PARTIES

      24         l. PlaÍntifl     Richard Grace, is and was at all times relevant hereto an individual who maintains

      25             a    principal place of resïdence wilhin tÌ¡e county and jurisdiction of this Coun..

      26         2. Plaintifris a "consumer" within the meaning of the Fair Debt Collection Practices Act

      2'.1           (UFDCPAU), 15 U.S.C. $ 1692a(3), and a "person" within the meaning ofthe Rosenthal Fair

      28             Debt Collection Practices Act ('R.FDCPA'), Cal. Civ. Code $ l7SS,2(g).


                                                             COMPLAINT




                                                                                                                             Exhibit 1
                                                                                                                              Page 3
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        I        Defendant, Asset Acceptance, LLC ("Asset Acceptance") is, and at all times herein

        2        mentioned was, a limited liability company organized and existing under the laws of the

        3        State of Delaware with its principal place of business located at 28405 Van Dyke Ave.

        4        'Warren, Michigan 48093. At all times relevant to this Complaint, Asset
                                                                                         Acceptance was

        5        qualified to do business in the Soru of Cu,ifo*ia, and regularly hansacts business in this

        6        this state and throughout the United States.

        7        Plaintiff is informed and believes and therefòre alleges that Asset Acceptance regularly         uses

        I        the United States Postal Service for the purpose of collecting "debts," as defined under 15

        9        U,S.C. $ t692a(5), Cal. Civ. Code $ 178S.2(d) and "consumer debts," as def¡ned under Cal.

       l0        Civ. Code $ 1788.2(Ð, owed to another and attempts to collect debts a¡rd is a "debt

       It        collector" "   as defured   in Section 803(6) of the FDCPA, l5 U.S.C. g 1692a(6) and Cal. Civ.

       12        Code $ 1788.2(c).

       13        Plaintiff is informed and believes and therefore alleges that Asset Acc€,ptance is      an   entity

       74        who, regularly and in the course of business, ñrmishes information to one or more consumer

       l5        reporting agencies about its transactions or experiences with any consumer and therefore

       l6        meets the definition of a "furnishcr," as codified at l5 U,S.C, g l68ls(2).

       17   6.   Plaintiff is ignorant of the fue   names and capacities of defendants sued herei:r as DOES        I to
       18        100, inclusive, and therefore sues these defendants by these fíctitious names. Plaintiffwill

       l9        amend this complaint to allege thei¡ true names and capacitie     s   when ascertained. Plaintiff is

      20         informed and believes and thereon alleges that each of the fictitiously named defendants is

      2l         responsible in scjme manner fo¡ the occurrences herein alleged, and that plaintiffs damages

      22         as   herei¡ alleged were proximately caused by those defendants.

      23    7.   Plaintiff   is informed and believes and thereon alleges that at all times material to this

      24         complaint, each of the Defendants, in addition to acting for himself, herself, or itself and on
      t5         his, her, or its own behalf individually, is and was acting.as the agent, servant, employee and

      26         representative of, and with the knowledge, consent and permission of, and in conspiracy

      27         with, each and all of the Detfendants and within the cowse, scope and authority of that

      28         agency, service, employment, representation, and conspiracy. Plaintiff firrther alleges on the


                                                          COMPLAINT




                                                                                                                          Exhibit 1
                                                                                                                           Page 4
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       I         information and believed that the acts of each of the Defendants were fully ratified by each

       2         and all of the Defendants. Specifically, and without limitation, Plaintiffalleges on

       3         information and belief that those actirons, failu¡es to act, breaches, conspiracy, and

       4         misrepresentations alleged herein and attributed to one or more of the specific Defendants

       5         were approyed, ratified, and done with thc cooperation and knowledge of each and all of tt¡e

       6         Defendants.

       7                                        JURISDICTION/VENT]E
       8    8.   This is an action under t}re Fair Debt Collection Practices Act ('FDCPA'), l5 U.S.C.       $

       I         1692(a),et. seq, as well as under the Rosenthal Fair Debt Collection Practices Act

      l0         ("RFDCPA"), Cal. Civ. Code $ 1761, et seq,

      ll    9.   Jurisdiction and venue in this Court is proper, because the acts complained of hsrein

      t2         occurred within this judicial district

      l3                                      FACTUAL BACKGROUND
      t4    10. Plaintiff seeks damages from Defendants forunlawfirl debt collection and reporting

      l5         practices,

      l6    11. As of October    l, 2014, Defendant   has reported and continues to report to the credit reporting

      t7         agencies that Plaintiffowes a debt to Defendant and the balance of this alleged debt, even     if
      l8         Plaintiff were shown to actually owe this debt to Defendant, is inaccurate and    has been

      19         grossly inflated with various fees that are not legally permissible.

      20    12. Plaintiff i9 informed and believes and therefore alleges tl¡at Defendant has a policy and

      2l         procedrue io inflate account balances in order to scare, persuade, oppress or intimídate-

      ))         consumers into settling debts that they do not legally owe.

      23    13. Plaintiff is fruther informed and believes and therefore alleges that:

      24             a.   That any alleged or actual credit card issued to Plaintiff in connection with the

      25                  alleged debt claimed by Asset Acceptance remains the property of the original card

      26                  issuer, CitiBank,.if such debt or evidence thereof evcn exists.

      27             b.   That it is the practice of CítiBauk to charge-off and scll cvidence of indebtedness

      28                  after collecting insurance for its losses. Thus, the worthless commercial paper


                                                          COMPLAINT




                                                                                                                     Exhibit 1
                                                                                                                      Page 5
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          I               illusmting    the duty benveen the assignor and assignee becomes legally uncollectible

         2                and debt collectors employ unethical and illegal tactics, such as those described in

         J                Paragraph 12 above.

         4           c.   Asset Acceptance does not have any contract(s) with Plaintiffwritten, oral, express,

         5                implied or otherwise, specifically as it pertains to the alleged debt Asset Acceptance

         6                is attempting to collect from Plaintiff.

         7           d.   The collecfion of any alleged debt after having been written off or charged offby the

         8                initial creditor would be   a case   ofunjust enrichrnent, and/or fraud on the consumer

         9                and/or fraud on the court;

        t0           e.   That Defendant arbitrarily selected Plaintiffto be responsible forthis alleged debt

        ll                despite not having a legal right to do so.

  '12                f.   That Defendant has violated Plaintiffs rights under numerous state and fedeml laws

        l3                with respect to this atleged debt.

        l4           g.   That Plaintiffhas always objected to any amount due.

        l5           h.   That Plaintiffis informed and believes and therefore alleges that the purported

        l6                contract or agreoment falls within a class of contracts or agreements required to be in

        t7                writing. The purported contract or agleement used        as the basis   for Asset Acceptance

        l8                to collect the debt altegedly owed to it by Plaintiff is not in writing and signed by

        t9                Defendant or by some other person authorized by Defendant.

        20                                            FIRST CAUSE OF ACTION

        21                    FALSE OB MISLEADING REPRESENTATIO.NS
                                                                                         -F'DCPA
        )')   14. Plaintiffhereby incorporates by this reference Paragraphs        I through 13 inclusive, as though
        23       set forth here in   full.

        24    15. Defendant is directly fumishing inaccurate and false information regarding the charged          off
        25       debt and balance duc to all three major credit repof bu¡eaus.

        26    16. In furnishing the information described in Paragraph       l8   above, Defendant has violated 15

        27       U.S.C.   $   I692e(2)(A) in that it has repeatedly and falsely represented the character and

        28       amount of the debt,

                                                                 -4-
                                                          COMPLAINT




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        I    17. Defendant knew or should have known that the information it was and currently is

        2       fumishing to ttre th¡ee major credit bureaus is inaccwate, because Plaintiff    has repeatedly

        3       told Defendants about the inaccuracies and meaningfulness of having correct informatibn

        4       reported, and incorrect information corrected in numerous written and telephonic

        5       communications.

        6    18. Defendants fu¡ther knçw or should have known tt¡at the information it has and currently is

        7       ñrrnishing to the tbree niajor credit bweaus is inaccurate, because Defendant, on nuncrous

        8       occasions, acknowledged the errors and promised Plaintiffthat the errors would be

        9       corrected.

       l0    19. As a direct and proximate result of Defendants   wiltful misrepresentations   and failure to

       ll       correct the accuracy of the information it furnishes to the three major credit bureaus,

       t2       Plaintiffhas suffered actual damages, including court costsr loss of wages, attomey's      fees,

       l3       and pain and suffering.

       14                                  SECOND CAUSE OFACTION

       l5                           IJNF'AIRERACTICES _FDCPA & RFDCPA
       r6    20. Plaintiffhereby incorporates by this reference Paragraphs   I   through 19 inclusive, as though

       t7       set forth here in full.

       l8    21. As prohibited by 15 U.S.C. $ 1692(Ð, Defendant has uscd and is using unfair or

       r9       unconscionable means to collect or attempt to collect the debt allegedly owed to it by

       20       Plaintiff, by including interest, fees, charges or expenses incidental to the principal

       2l       obligation, that are not expressly authorized by the agreement creating the alleged debt nor

       22       permitted by law.

       23    22. As is also prohibited by Cal Civ. Code $ 1788.13(e), Defendant has falsely represented that

       24       the consumer debt may be increascd (because it has been increased) by the dddition        of
       25       various fees and charges, when, in fact, those various fees and charges may not be legally

       26       obligated to the allegtid existing obligation.

       27

       28




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         I                                            THIRD CAUSE OFACTION
        2         ,           CUMULATIVEDAMAGÉS_RFDCPAVIOLATIONS
        1    23. Plaintiffhereby incorporates by this reference Paragraphs     I    through 22 inclusive, as tliough

        4        set forth here in ñ¡ll.

        5    24, Defendant violated Cal. Civ. Code $ 1788.17 by violating the Fair Debt Collçction Practices

        6       Aot (Public Law 95-109, l5 U.S.C. $ 1692 et seq.)

        7    25. Defendant's acts, as described above, were done intentionally with the purpose of coercing
                                                                                                                                        i'
        I       Plaintiffto pay    the alleged debt.                                                                                    l.
                                                                                                                                        i¡1
                                                                                                                                        I,i,,
        I    26. As a result of Defendant's viotations of RFDCPA, Defendant is liable to Plaintiff for                                  t.
                                                                                                                                        li:
                                                                                                                                        t.--
       t0       injunctive and declaratory relief and for actual damages, sùatutory damages, and attorney's                             {',


       1l       fees and costs.

       t2    27. As a result of Defendant's violations of FDCPA, which are also violations of the RFDCPA,

       l3       Plaintiff is entitled to sollect double süatutory damages for all of Defendantts prohibited
       t4       conduct under both state and federal law.

       15                                       FOURTU CAASE OFACTION
       l6                                    r¡rvAsloN oF PRrvAcY - FDCPA
       t'l   28. Plaintiffhereby incorporates by this referenqe Paragraphs      I   tbrough 27 inclusive, as though

       l8       set forth here in full.

       l9    29. Congress has explicitly recognized         a consumer's inherent right to privacy in collection
       20       mafters   in passing the Fair Debt Collection Practices Act, when it            stated as part   of   its

       2l       finding: "Abusive debt collection practices contribute               to the number of       personal

       22       bankruptcies,     to marital instability, to the loss of jobs, and to invasions of individual
       7a       privacy." l5 U.S.C.        S 1692a.

       24    30. Congress further recognized a consumet's right to privacy          in financial data in passing the
       25       Gramm-Leach-Bliley           Act   which regulates the privacy of consu:ner financial data for         a

       26       broad range    of "financial institutions" including debt collections (albeit without a private
       )1       right of action), when it stated as part of its purposes: "It is the policy of the Congress that

       28       each financial institution has an affirrnative and continuing obligation to respect the privacy


                                                          COMPLAINT




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        I         of its customers and to proteot the security and confidentiality of those customers' nonpublic

        2         personal information."      l5 U.S,C.   $ 6801(a)

        3    3l. Defendant and/or           its   agents íntentionally, recklessly, and./or negligently interfered,
        4         physically or otherwìse, with the solitude, seclusion and/or privatg conc€rns or affai¡s of the

        5         Plaintifi namely, by repeatedly       and unlawfully attempting to collect a debt tl¡at they have no

        6         legal basis to collect &om Plaintiff, and/or falsely reporting the balance of the debt allegedly

        7         owed on Plaintiffs credit report thereby invading Plaintiffs privacy.

        8    32. Defendant and its agents intentionally, recHessly, and/or negligently caused emotional harm

        I         to Plaintiff by engaging in highty offensive conduct in the course of credit reporting, thereby

       l0         invading and intnrding upon Plaintiffs right           ûo   privacy.

       lt    33. Plaintiff had a rcasonable expectation           of püvacy in Plaintiffs solitude, seclusion, private
       t2         concerns or affain, and priv4te financial information.

       t3    34. The conduct       of the Defendant and its agents, in engaging in the above-described illegal
       l4         collection conduct against Plaintiff, resulted in multiple intrusions and invasions of privacy

       l5               Defendants which occurred         in a way that would be higtrly offensive to a reasonable
              -by
       16         person in that position.

       t7   35. Defendant's false and inaccruate reports            of alleged debts owed to it by Plaintiff naturally
       l8         resulted in invasions of Plaintiffs privacy.       .




       t9   36. As a résult of all intrusions and invasions of privacy, Plaintiff is entitled to actual damages

       20         in an amount to be deterrnined at       tial   from Defendants.

       2t   37.   All   acts   of Defendants and their      agents and./or employees were committed with malice,
       7)         intent, wantonness, and/or recklessness and as such Defendants are subject to punitive

       23         damages.

       24                                          FIFT-HCAUSE OFACTION
       25                      INTENTIONAL INI¡:LICTION              :OT'     EMOTIONAL DISTRES
       26   38. Plaintiffhereby inoorporates by this reference Paragraphs 1 through 37 inclusive, as though

       27         set forth here in full.

       28   39.'Defendant's conduct of reporting inaccuracies to the three major credit reporting bureaus


                                                            COMPLA¡NT




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         I      was so exfreme and outrageous that         it   exceeded the boundaries   of civil decency   because

         2      Defendants have        all the inforrnation available to them required to have never         reported

         3      inaccurate information in the first place. Defendants have, on numerous occasions, assr¡red

         4      Plaintiff that the inaccuraoies were or would be correoted, but Defendants still contínue to
         5      report inaccurate information

         6   40. Defendants knew or should have known that thei¡ conduct would cause Plaintiff to suffer

         7      from actual emotional distress.

         8   41. Defendant's actions did      in fact actually and proximately cause Plaintiff to suffer exheme
         9      emotional distress, arising.from, but not limited to: humiliation, horror, grief,             shame,

        l0      emba¡rassment, worry, anxiety, stress, menüal exhaustion and diffrculty sleeping, which

        ll      have further resulted in physical symptoms including, but not limited to: nausea, physical

        12      shaking, sleeplessness, fatigue and intermittent, involuntary and uncontrollable crying.

        13   42. Defendant's inaccuracies      in   ftrrnishing information to the credit bureaus, coupled with

        T4      Defendant's numerous acknowledgements              or erroni are substantial factors in Plaintiffs
        l5      emotional distress in that had Defendant's simply corrected the inaccuracies being fumished

        l6      to the credit reporting bureaus, then Plaintiff would not have suffered humiliation in            the

        l7      comrnunity, damage to his reputation, loss of economic opportunities, arxiety over his credit

        l8      when contemplating personal or business decisions, and related trepidafions and impairment

        t9      ir, åtner avenues of his life that have been affected by Defendant's conduct,

       20                                            P4AYER FOR RpLTEF'
       21       WHEREFORE, Plaintiff prays judgment against Defendants as follows:

       22       l.   For declaratoryjudgment that Dcfendant's conduct violated FDCPA, and declaratory and

       23            injunctive relief for the Defendant's violations of the state act, RFDCPA;

       24       2.   Fór a declaratory judgment that Plaintiff does not ov/e any debt to Defendants;

       25       3.   For   a   preliminary injunction enjoining Defendants from reporting inaccuracies about

       26            Plaintiffto any credit reporting    agency as dehned under'state and federal law;

       27       4.   For   a   preliminary and permanent injunction requiring Defendant to delete or otherwise

       28            correct the inaccurate infonnation ifs reporting to the credit reporting agencies;


                                                         COMPLAINT




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         I      5. For actual damages according to proof;
         )      6. For statutory damages pursuant to FDCPA, 15 U.S.C. $ 1692k;
         3      7. For statutory damages pursuant to RFDCPA, Cal. Civ. Code. g 1788.30;
         4      8. For compensatory and punitive damages arising from Defendant's Intentional Infliction
         5               of Emotional Distress, in an amount no less than $5,000;

         6      9.       For compensatory damages resulting from loss of wages, both past and ñrture,

         7               commissions and other sums of money natuial arising ûom the actions complained           of
         8               herein in an amount no less than $5,000;

         .9     10. For costs and reasonable attorney's fees pursuant to        l5 U.S,C. $ 1692k     and Cál. Civ,

        10               Code $ 1788.30(c);

        ll      I   l. For such other and firther relief   as may be   just and proper.

        t2
        l3
        t4           .   DATED: October 14,2014                          Respecffu   lly Submitted,
        l5
        l6
                                                                           Richard Grace
        t7                                                                 Plaintiff, I¡ Pro Per

        l8
        l9
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        2t
        J)

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                                                           COMPLAINT




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                                                         4050 Main Street
                                                      Riverslde, CA 92501
                                                    www. riverside.courts.ca.oov




                                .      NOTICE OF ASSIGNMENT TO DEPARTMENT

               GRACE VS ASSET ACCEPTANCE LLC

                                                         cAsE NO. SWC1403326


               This case is asslgned lo lhe Honorable Judge Elaine M Kiefer          in. Department 5101 for all                 t

               purposes.

               Th.e Tdal Setting Conference is scheduled for05/08/15 at 8:30 in Department 1 I .
                                                                                                                                 i:'

               Department 11 ls located in the Riverside Givil D¡uis¡on at 4050 Maln Street, Ríverside, CA
               92501.

              Medlation servíces wlll be provided at the Trlal Setting Gonference. All persons with case
              settlement authority are expected to attend thê Trlal Setting Gonference.

              Pursuant to recent amendments to California Rules of Court 3.720, the ccurt fs'temporarlly
              el|minallng case management rules and therefore will not require parties to file case'
              management statements.

              Jury feês are due no later than 365 calendar days after the flling of lhe ¡nlilal complaint pursuant
              to CCP 631 ( c) (2).

              The filing party shall se¡ve â copy of thls notlce on all parties.


              The plaintlff/cross-complainant shall sewe a copy of thls notlce on   all         t
              defendants/cross-defendants who are named or added to the complainl and file proof of service.

              Any disqualification pursuant to CCP section 170.6 shall be filed in accordance with that sectlon

              Requeste for accommodat¡ons can be rnade by submitting Judicial Councll form MC4l0 no
              fewer than live court days before the hearing. See Califomla Rules of Courq rulo i.100.




     cl¡aotc
     /3fi.r




                                                                                                                     Exhibit 1
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